Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 1 of 55 PageID 1




                    IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

OMNIA MEDICAL, LLC,

       Plaintiff,

       vs.

PAINTEQ, LLC, SEAN             LANEVE,
and CHARLES GIRSCH,

      Defendants.
___________________________________/

                      OMNIA MEDICAL, LLC’S
               COMPLAINT AND DEMAND FOR JURY TRIAL

                         INJUNCTIVE RELIEF SOUGHT

      Omnia Medical, LLC (“Omnia Medical”) sues PainTEQ, LLC (“PainTEQ”),

Sean LaNeve, and Charles Girsch, and alleges as follows:

                                 Introduction

      1.     In this case, Omnia Medical asserts claims against PainTEQ and the

individual defendants for perpetrating a fraudulent payment scheme wherein it

deliberately misrepresented the prices it sold Omnia Medical’s products under the

parties’ distribution and sales contract (“Stocking Agreement”) to surgical

facilities — including, but not limited to, facilities owned by one or more

physicians with an undefined or undisclosed beneficial interest in PainTEQ in

violation of the Stocking Agreement and the Physician Payments Sunshine Act
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 2 of 55 PageID 2




and implementing regulations— at a much lower price than it actually sold them.

PainTEQ pocketed the difference between the actual sales price and the lower

price that it represented to Omnia Medical; thereby financing the startup of

PainTEQ through illicit conduct. Thus, PainTEQ’s and the individual defendant’s

deceit regarding the product pricing caused, and continues to cause, Omnia

Medical damages and harm in the market. Before engaging in the fraudulent

payment scheme, PainTEQ fraudulently induced Omnia Medical into entering a

business relationship to gain access to Omnia Medical’s proprietary and trade

secret information, some of which it blatantly reverse engineered and copied to

create its own products and literature. PainTEQ was, is, and continues to use

Omnia Medical’s proprietary and trade secret information to unfairly and unjustly

compete with Omnia Medical. Were it not for the use of Omnia Medical’s stolen

funds and proprietary and trade secret information, PainTEQ may not even exist

as a competitor to Omnia Medical today.

          2.     Omnia Medical also asserts claims for patent infringement under the

patent laws of the United States, 35 U.S.C. §§ 271, et seq., to enjoin infringement

and obtain damages resulting from PainTEQ’s unauthorized and ongoing willful

actions of making, using and selling and/or having products made or sold that

infringe and/or induce the infringement of one or more claims of U.S. Design

Patent No. D922,568 (the ‘D568 Patent), and U.S. Patent No. 11,083,511 (the ‘511


                                           2
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 3 of 55 PageID 3




Patent).

                             Parties, Jurisdiction, and Venue

          3.     Omnia Medical is an Ohio limited liability company with its principal

place of business in Morgantown, West Virginia, and other corporate offices

located in Powell, Ohio. All members of Omnia Medical are individual persons

who are citizens of the states of Ohio, West Virginia and California.

          4.     PainTEQ is a Florida limited liability company with its principal place

of business in Tampa, Florida. Based upon a reasonable investigation conducted

before filing this Complaint, Omnia Medical believes and therefore alleges that the

members of PainTEQ are: (i) OMT Group, LLC, a Florida limited liability

company, and (ii) Colty Investments Group, Inc., a Florida corporation with its

principal place of business in Florida.

                 a.    Based on a reasonable investigation conducted before filing this

Complaint, Omnia Medical believes and therefore alleges that the sole member

and manager of OMT Group, LLC is Sean LaNeve, who is a citizen of the State of

Florida.

                 b.    Omnia Medical is informed and believes and therefore alleges

that at all times herein mentioned, Mr. LaNeve was an agent of PainTEQ, and, in

doing the things herein alleged, was acting in the scope of such agency and with

the permission and consent of PainTEQ.


                                             3
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 4 of 55 PageID 4




                 c.    Based on a reasonable investigation conducted before filing this

Complaint, Omnia Medical believes and therefore alleges that Charles Girsch, a

citizen of the State of Florida, was an agent of PainTEQ, and, in doing the things

herein alleged, was acting in the scope of such agency and with the permission

and consent of PainTEQ.

                 d.    Based on a reasonable investigation conducted before filing this

Complaint, Omnia Medical believes and therefore alleges that Michael Enxing, a

citizen of the State of Florida, may also have a direct or indirect ownership interest

in PainTEQ based on his recent appointment to the PainTEQ Board of Directors.

Therefore, PainTEQ is deemed to be a citizen of the State of Florida.

                 e.    Omnia Medical believes and therefore alleges that any other

members of PainTEQ are citizens of states other than Ohio, West Virginia, and

California.

          5.     Jurisdiction and venue are proper in this Court.

                              Background & Material Facts

A.        Omnia Medical’s PsiF System and PainTEQ’s LinQ System

          6.     Omnia Medical develops novel products that reduce operative time

through safe and reproducible instrumentation, while achieving superior surgical

outcomes. It produces, sells, and distributes the PsiFTM System for use in surgical

procedures for sacroiliac (“SI”) joint repair. The PsiFTM System includes


                                            4
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 5 of 55 PageID 5




components designed to practice the method of at least one claim of the ‘511

Patent. Omnia Medical distributes its PsiFTM Surgical Technique Guide to its

customers to provide instructions for using its PsiFTM System.

          7.     Omnia Medical is the exclusive licensee of intellectual property

owned by Orthocision, including the ‘D568 Patent, the ‘511 Patent, U.S. Patent No.

10,426,539 (the ’539 Patent), U.S. Patent No. D905,232 (the ‘D232 Patent), U.S.

Registration Nos. 4,646,387 (the ‘387 Registration), and 4,646,388 (the ‘388

Registration), Copyright Registration Nos. VA 2-209-321 (the ‘321 Registration)

and VA 2-212-904 (the ‘904 Registration).1 As the exclusive licensee, Omnia

Medical has the right to, inter alia, use the licensed intellectual property and to

enforce, litigate, initiate court proceedings, and/or settle all past, present, and

future claims arising from or related to the licensed intellectual property.

          8.     PainTEQ manufactures, sells, and offers to sell products for use in

surgical procedures for SI joint repair and joint fusion, including the LinQTM SI

Joint Stabilization System (the LinQTM Products). The LinQTM Products are

unlicensed and unauthorized copies or near copies of Omnia Medical’s PsiFTM

System tools.



1 Omnia Medical is currently pursuing claims arising out of the ‘539 Patent, ‘D232 Patent, ‘387
Registration, ‘388 Registration, ‘321 Registration and ‘904 Registration in Case No. 20-02805-
VMC-AAS pending in the United States District Court for the Middle District of Florida. The
Court denied Omnia Medical’s request for leave to amend the previously filed Complaint to add
the patent infringement claims alleged in this Complaint. See Doc. 59 in Case No. 20-02805.

                                              5
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 6 of 55 PageID 6




          9.     According to its website, PainTEQ provides “bioskills training and

certification for our procedures.” Exhibit 1 (page from painteq.com retrieved on

11/25/2020). A surgical cannula is among the products included in the LinQTM SI

Joint Stabilization System. PainTEQ distributes a Surgical Technique Guide to its

customers and/or potential customers to provide instructions for using its LinQTM

Products.

B.        The Stocking Agreement and PainTEQ’s Fraudulent Conduct

          10.    Beginning in or about December 2016, and before PainTEQ began

offering the LinQTM products, Omnia Medical and PainTEQ entered into

discussions about forming a working relationship.

          11.    Specifically, on or around December 12, 2016, PainTEQ, through its

agent, Charles Girsch, first contacted Omnia Medical to inquire about becoming a

distributor of Omnia Medical’s products and the PsiFTM System.

          12.    In response to PainTEQ’s initial inquiry, on December 12, 2016,

Omnia Medical, through its agent, Steve Anderson, sent an email to PainTEQ’s

agent, Charles Girsch, providing information about Omnia Medical and its PsiFTM

System. In response, on December 13, 2016, Mr. Girsch replied with “Looks great!

How do we move forward?” A copy of this email correspondence is attached as

Exhibit 2.

          13.    Following their initial exchange of information, PainTEQ and Omnia


                                           6
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 7 of 55 PageID 7




Medical continued to discuss forming a working relationship. During these

discussions, PainTEQ, through Charles Girsch, made numerous fraudulent

representations regarding its intent to sell Omnia Medical’s products at top line

prices. One email on December 13, 2016 shows Mr. Girsch representing ”[W]e will

buy for the same costs the hospital buys for so you get full sales numbers.” See

Exhibit 2, pg. 2. This was false.

          14.    Mr. Girsch also insisted on receiving a PsiFTM System set before

entering into a business relationship with Omnia Medical on the premise that he

intended to sell the PsiFTM System in good faith. See Exhibit 2. This was false.

Instead, Mr. Girsch wanted a PsiFTM System set so PainTEQ could begin stealing

Omnia Medical’s intellectual property for PainTEQ’s use. Omnia Medical was

unaware of PainTEQ’s nefarious intent at the time.

          15.    Effective April 1, 2017, Omnia Medical and PainTEQ entered into a

distribution and sales agreement (“Stocking Agreement”), a copy of which is

attached as Exhibit 3. Under the Stocking Agreement, Omnia Medical was to

“develop and provide products compliant with applicable FDA Quality System

Requirements,” and PainTEQ was to “continuously and actively pursue the

marketing of provided product(s) in the respective territory for the purpose of

market penetration and satisfaction of the general agreement between OMNIA

and PAINTEQ.” Exhibit 3, §§ 2 and 3.


                                           7
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 8 of 55 PageID 8




          16.    Section 6 of the Stocking Agreement provided the procedure

governing PainTEQ’s purchase of Omnia Medical’s products via separate

purchase orders as follows:

                 6. Purchase Orders
                 Prior to purchasing Products, PAINTEQ shall provide
                 OMNIA with a firm purchase order specifying the
                 Products it desires to purchase and a desired shipment
                 date for the Products. Such purchase order, upon
                 acceptance by OMNIA, shall be deemed to be
                 Incorporated into this Agreement and any conflicts
                 between the purchase order and the terms of this
                 Agreement shall be governed by the term of this
                 Agreement. OMNIA shall have seven (7) days to notify
                 PAINTEQ of rejection of such purchase order. OMNIA
                 shall not have any liability arising from the rejection of
                 any purchase order provided that such rejection was
                 delivered within such 7-day notice period. If no notice of
                 rejection is given, the binding order shall be considered
                 accepted by OMNIA and OMNIA shall make
                 commercially reasonable efforts to fill such purchase
                 order with Products within the scheduled delivery times
                 set forth on such order.

Exhibit 3, § 6.

          17.    Pursuant to the Section 6 of the Stocking Agreement, each purchase

order was a separate offer for purchase that Omnia Medical was entitled to accept

or reject, with each becoming a binding order upon Omnia Medical’s acceptance

of the terms and pricing of each.

          18.    Pursuant to the terms of the Stocking Agreement, PainTEQ would

earn a commission on the Omnia Medical products it sold based on a percentage


                                             8
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 9 of 55 PageID 9




of the sales price. Exhibit 3, Ex. B (pg. 6).

          19.    Section 3 of the Stocking Agreement further provided that “[a]ll

literature and marketing information supporting said product is property of

OMNIA and must be returned to OMNIA upon OMNIA’s request.” Exhibit 3, §

3.

          20.    Section 10 of the Stocking Agreement further imposed various

obligations of confidentiality between Omnia Medical and PainTEQ, and non-use

of Confidential Information by PainTEQ, including as follows:

                 All confidential or proprietary information furnished . . .
                 by OMNIA to PAINTEQ or any of its affiliates, during
                 the term of this Agreement, (“Confidential Information”)
                 including, without limitation, any specification, design
                 information, Product information, quality assurance
                 plans, marketing strategies, business plans and
                 strategies, Inventions (whether or not the subject of
                 Patents), trade secrets, know-how, cost and profit data,
                 distribution and marketing plans, and business and
                 financial information, shall be kept confidential by the
                 party receiving it. The party receiving Confidential
                 Information shall not disclose it or make use of it, except
                 for purposes authorized by this Agreement, nor disclose
                 any Confidential Information to any person or firm
                 unless previously authorized in writing to do so;
                 provided, however, that the receiving party may disclose
                 it as necessary to responsible officers, employees and
                 agents for the purposes of performing its obligations
                 under this Agreement, provided that such employees,
                 officers and agents shall have assumed like obligations
                 of confidentiality in writing. . . .

                 Except as required by law, PAINTEQ and OMNIA shall
                 keep the existence and terms of this Agreement, as well

                                             9
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 10 of 55 PageID 10




                 as any discussions and/or materials provided in
                 connection herewith, strictly confidential, and shall each
                 make all reasonable efforts to maintain such
                 confidentiality, including restricting PAINTEQ’s
                 officers, employees and representatives access to the
                 terms of this Agreement on a “need to know” basis,
                 limiting copies and ensuring that all parties agree to the
                 confidential nature of this Agreement.

Exhibit 3, § 10.

          21.    Under the Stocking Agreement, PainTEQ earned a commission based

on the reported sales prices for which PainTEQ sold Omnia Medical’s products.

          22.    On July 23, 2018, Sean LaNeve, acting on behalf of PainTEQ, falsely

and fraudulently represented to Omnia Medical via email that PainTEQ had

agreed to reduced pricing on the PsiFTM System with its customers, various

surgical facilities (the “Reduced Pricing”). Specifically, in response to Omnia

Medical’s questions about a drop in pricing, Mr. LaNeve stated: “Negotiations

have stalled so I agreed to a 4K price for the latest round of cases. . . Their

reimbursement is fixed so they want a fixed price for our kit to lock in their

profitability.” A copy of Mr. LaNeve’s July 2018 email (the “July 2018 Email”) and

the subject purchase order is attached as Composite Exhibit 4.

          23.    PainTEQ’s representations regarding the Reduced Pricing were false

at the time they were made. At no point had Mr. LaNeve “agreed to a 4K price”

with any surgical facility, and after the July 2018 email, PainTEQ sold Omnia



                                            10
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 11 of 55 PageID 11




Medical’s PsiFTM System for substantially more than $4,000 per unit.2

          24.    PainTEQ doubled down on this lie in October 2018. Specifically, on

October 17, 2018, Mr. LaNeve represented to Omnia Medical that, “[w]e are locked

in to the $4,000 pricing as most of our [customers] are owned by the same group.

I understand its not the price we want but its still well above our contract “floor”

of $2,500.” A copy of Mr. LaNeve’s October 2018 email (the “October 2018 Email”)

and the subject purchase order is attached as Composite Exhibit 5.

          25.    As evidenced by Composite Exhibit 4 and Composite Exhibit 5,

Charles Girsch, PainTEQ’s Executive Vice President, was copied on the July 2018

emails and the October 2018 email, and in fact participated in the conversation

with Omnia Medical, was aware of Mr. LaNeve’s false representations regarding

pricing, but failed and/or refused to correct Mr. LaNeve’s fraudulent

representations.

          26.    The representations in the October 2018 emails also were not true.

PainTEQ was not, nor had it ever been, “locked in to the $4,000 pricing” as Mr.

LaNeve represented in his October 2018 email. Instead, PainTEQ’s customers were

still agreeing to a higher price and PainTEQ was selling Omnia Medical’s PsiFTM

System for more than $4,000 per unit during and after Mr. LaNeve sent the October



2
  Omnia Medical has evidence demonstrating PainTEQ sold the units for more than $4,000.
However, a Confidentiality Agreement signed in Case No. 20-02805 precludes Omnia Medical
from including that documentation with this Complaint.

                                          11
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 12 of 55 PageID 12




2018 Email.3

          27.    Over a period of several months, PainTEQ, through its agents Sean

LaNeve and Charles Girsch, submitted numerous purchase orders reflecting the

Reduced Pricing, which Omnia Medical accepted on numerous occasions (the

“Purchase Orders”) based on the false representation that PainTEQ could not get

surgical facilities to agree to any price higher than the Reduced Price. These

Purchase Orders include, among others, the purchase orders included in

Composite Exhibits 4 & 5 referenced above.

          28.    PainTEQ    repeatedly,    pervasively,     falsely    and    deliberately

represented that it sold products for lower amounts than it actually sold them in

furtherance of its scheme to defraud Omnia Medical and to induce Omnia Medical

to accept each separate Purchase Order PainTEQ submitted.

          29.    PainTEQ earned a percentage for its commission based upon its

falsified sales price. Additionally, PainTEQ retained the entirety of the difference

in the amount it actually sold the products for and the lower amount that it

represented to Omnia Medical that it sold the product. Thus, by engaging in the

fraudulent pricing scheme, PainTEQ earned more money off the sale of the PsiFTM

products than it would have under the commission pricing schedule found in the




3
 As before, Omnia Medical has documentation supporting this allegation that it cannot attach
due to the Confidentiality Agreement.

                                            12
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 13 of 55 PageID 13




Stocking Agreement.

C.        PainTEQ’s Unlicensed and Unlawful Use of Omnia Medical’s Intellectual
          Property

          30.    Solely because it entered into the Stocking Agreement with Omnia

Medical, PainTEQ had access to and knowledge of the PsiFTM Surgical Technique

Guide, the PsiFTM System, and other intellectual property owned or licensed by

Omnia Medical. As part of the process of negotiating the Stocking Agreement with

PainTEQ, Omnia Medical disclosed its intellectual property holdings, including

the subject matter of the application that matured into the ‘511 Patent.

          31.    PainTEQ, among other things, sent pictures of Omnia Medical’s tools

and equipment for the PsiFTM System to a manufacturer and asked them to reverse

engineer and replicate them in full in order to steal Omnia Medical’s design for

PainTEQ’s future use with its LinQTM System.

          32.    On or about February 19, 2019, PainTEQ terminated the Stocking

Agreement.

          33.    Omnia Medical later learned that PainTEQ was selling equipment

substantially similar (or identical) to Omnia Medical’s. In addition, PainTEQ was

distributing a Surgical Technique Guide that used images of equipment identical

to Omnia Medical’s. In fact, the LinQTM Surgical Technique Guide included text

and images copied from Omnia Medical’s Surgical Technique Guide, including

copied images of five of six drawings of tools from Omnia Medical’s PsiFTM System

                                           13
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 14 of 55 PageID 14




and the copying of Omnia Medical’s trademarked name for one of those products.

          34.     Upon information and belief, either PainTEQ as an entity, or some or

all of its assets—including the LinQTM system—are being marketed for sale. If the

sale is closed and the proceeds from the sale distributed, Omnia Medical may have

no means of recovery from PainTEQ’s fraudulent conduct and infringement on

Omnia Medical’s intellectual property.

                                        COUNT I
                 Fraud in the Inducement – Stocking Agreement – PainTEQ

          35.     Omnia Medical incorporates and realleges paragraphs 1 through 34

as if fully rewritten here.

          36.     Charles Girsch, as Vice President of PainTEQ, falsely and

fraudulently represented that PainTEQ desired to establish a business relationship

with Omnia Medical, and ultimately enter into the Stocking Agreement, in order

to sell Omnia Medical’s products in good faith in furtherance of the business

relationship and the success of both companies.

          37.     Despite these representations, PainTEQ never intended to perform

under the Stocking Agreement or in the best interest of Omnia Medical. Instead, it

fraudulently induced Omnia Medical to enter into the Stocking Agreement in

order to gain access to Omnia Medical’s confidential intellectual property, to steal

Omnia Medical’s confidential intellectual property for PainTEQ’s use and benefit,

and to damage Omnia Medical’s ability to compete or even exist in the SI Joint

                                            14
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 15 of 55 PageID 15




Market. Further, it intended to, and did, conceal its physician ownership in

violation of the Physician Payments Sunshine Act, which further damaged Omnia

Medical.

          38.    PainTEQ knew at the time it made the repeated fraudulent

representations that they were in fact false and that it had no intention of honoring

its promises, which were false at the time they were made.

          39.    PainTEQ, through its agents, made these representations knowing

them to be false and with the intent to defraud and deceive Omnia Medical to enter

into the Stocking Agreement with PainTEQ, to induce Omnia Medical to share its

confidential intellectual property with PainTEQ, to steal Omnia Medical’s

confidential intellectual property for PainTEQ’s use and benefit, and to prevent

Omnia Medical from attempting to sell directly to the surgery centers in order to

damage Omnia Medical’s ability to compete in the SI Joint Market.

          40.    Omnia Medical, at the time PainTEQ made the above fraudulent

representations and at the time Omnia Medical agreed to enter into the Stocking

Agreement, had no knowledge as to the falsity of PainTEQ’s representations and

believed them to be true.

          41.    In reliance on these representations, Omnia Medical was induced to

enter into the Stocking Agreement. Had Omnia Medical known the actual facts,

that PainTEQ only intended to steal Omnia Medical’s confidential intellectual


                                          15
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 16 of 55 PageID 16




property and damage Omnia Medical’s ability to compete in the SI Joint Market,

it would not have agreed to enter into the Stocking Agreement.

          42.    Omnia Medical’s reliance on PainTEQ’s representations was justified

because Omnia had no reason to believe PainTEQ’s representations were false and

any company in Omnia Medical’s position would have reasonably and justifiably

relied on what appeared to be good faith representations.

          43.    As a direct and proximate result of PainTEQ’s fraud and deceit,

Omnia Medical has sustained financial damages.

          44.    PainTEQ’s   actions   and/or   inactions   and   concealment   were

intentional, willful, wanton, malicious and performed with a reckless disregard

for Omnia Medical’s rights and, therefore, Omnia Medical reserves the right to

seek to amend this Complaint at the appropriate time to allege punitive damages

against PainTEQ pursuant to section 768.72, Fla. Stat.

          WHEREFORE, Omnia Medical requests the Court to:

          A.     Enter judgment in favor of Omnia Medical, finding that PainTEQ

fraudulently induced Omnia Medical to enter into the Stocking Agreement;

          B.     Award Omnia Medical damages flowing from PainTEQ’s fraudulent

inducement;

          C.     Award Omnia Medical pre and post-judgment interest;

          D.     Enjoin PainTEQ and/or its members from distributing or dissipating


                                           16
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 17 of 55 PageID 17




the proceeds of the sale until the merits of Omnia Medical’s claims have been

determined;

          E.     Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to PainTEQ’s fraudulent conduct;

and

          F.     For such further relief as the Court deems just and proper.

                                     COUNT II
           Fraud in the Inducement – Stocking Agreement – Charles Girsch

          45.    Omnia Medical incorporates and realleges paragraphs 1 through 34

as if fully rewritten here.

          46.    Charles Girsch falsely and fraudulently represented to Omnia

Medical that PainTEQ desired to establish a business relationship with Omnia

Medical, and ultimately enter into the Stocking Agreement, in order to sell Omnia

Medical’s products in good faith in furtherance of the business relationship and

the success of the companies.

          47.    Despite Mr. Girsch’s representations, he never intended for PainTEQ

to perform under the Stocking Agreement or in the best interest of Omnia Medical.

Instead, he fraudulently induced Omnia Medical to enter into the Stocking

Agreement in order to gain access to Omnia Medical’s confidential intellectual

property, to steal Omnia Medical’s confidential intellectual property for his own

use and benefit, and to damage Omnia Medical’s ability to compete or even exist

                                            17
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 18 of 55 PageID 18




in the SI Joint Market.

          48.    Mr. Girsch knew at the time he made the representations that they

were in fact false and that he had no intention of honoring his promises, which

were false at the time they were made.

          49.    Mr. Girsch made these representations knowing them to be false and

with the intent to defraud and deceive Omnia Medical, to enter into the Stocking

Agreement with PainTEQ, to induce Omnia Medical to share its confidential

intellectual property, to steal Omnia Medical’s confidential intellectual property

for his own use and benefit, and to prevent Omnia Medical from attempting to sell

directly to the surgery centers in order to damage Omnia Medical’s ability to

compete in the SI Joint Market.

          50.    Omnia Medical, at the time Mr. Girsch made the above fraudulent

representations and at the time Omnia Medical agreed to enter into the Stocking

Agreement, had no knowledge as to the falsity of Mr. Girsch’s representations and

believed them to be true.

          51.    In reliance on these representations, Omnia Medical was induced to

enter into the Stocking Agreement. Had Omnia Medical known the actual facts,

that Mr. Girsch only intended to steal Omnia Medical’s confidential intellectual

property and damage Omnia Medical’s ability to compete in the SI Joint Market,

it would not have agreed to enter into the Stocking Agreement.


                                          18
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 19 of 55 PageID 19




          52.    Omnia Medical’s reliance on Mr. Girsch’s representations was

justified because Omnia had no reason to believe Mr. Girsch’s representations

were false and any company in Omnia Medical’s position would have reasonably

and justifiably relied on what appeared to be good faith representations.

          53.    As a direct and proximate result of Mr. Girsch’s fraud and deceit,

Omnia has sustained financial damages.

          54.    Mr. Girsch’s actions and/or inactions and concealment were

intentional, willful, wanton, malicious and performed with a reckless disregard

for Omnia Medical’s rights and, therefore, Omnia Medical reserves the right to

seek to amend this Complaint at the appropriate time to allege punitive damages

against Mr. Girsch pursuant to section 768.72, Fla. Stat.

          WHEREFORE, Omnia Medical requests the Court to:

          A.     Enter judgment in favor of Omnia Medical, finding that Charles

Girsch fraudulently induced Omnia Medical to enter into the Stocking Agreement;

          B.     Award Omnia Medical damages flowing from Charles Girsch’s

fraudulent inducement;

          C.     Award Omnia Medical pre and post-judgment interest;

          D.     Enjoin PainTEQ and/or its members from distributing or dissipating

the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ and Girsch have been determined;


                                          19
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 20 of 55 PageID 20




          E.     Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to Girsch’s fraudulent conduct;

and

          F.     For such further relief as the Court deems just and proper;

                                     COUNT III
                 Fraud in the Inducement – Purchase Orders - PainTEQ

          55.    Omnia Medical incorporates and realleges paragraphs 1 through 34

as if fully rewritten here.

          56.    Mr. LaNeve, acting on and behalf of PainTEQ, repeatedly falsely and

fraudulently represented to Omnia Medical that PainTEQ had agreed to sell the

PsiFTM System for the Reduced Pricing of $4,000 per unit. These representations

include, but are not limited to, those evidenced in Composite Exhibits 4 & 5.

          57.    These representations were false each time they were made. PainTEQ

never intended to charge the Reduced Pricing and actually charged the surgical

facilities an amount well above the Reduced Pricing it represented to Omnia

Medical it was charging on each Purchase Order it submitted. See FN 1 & 2.

          58.    On numerous occasions PainTEQ submitted Purchase Orders

reflecting the Reduced Pricing despite the fact that it knew it had already charged

or would charge the surgical facility a higher price than that reflected on the

submitted Purchase Order. These Purchase Orders include, but are not limited to,

those evidenced in Composite Exhibits 4 & 5.

                                            20
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 21 of 55 PageID 21




          59.    PainTEQ, through its agents, made these representations knowing

them to be false, with the intent to defraud and deceive Omnia Medical, and to

induce Omnia Medical to agree to the Reduced Pricing for each separate Purchase

Order and ultimately accept each separate Purchase Order including, but not

limited to, those evidenced in Composite Exhibits 4 & 5.

          60.    These representations were false at the time PainTEQ represented

that they were locked into the Reduced Pricing and at the time it submitted each

Purchase Order.

          61.    Omnia Medical, each time PainTEQ made the above representations,

and each time Omnia Medical accepted a Purchase Order with the Reduced

Pricing, had no knowledge as to the falsity of PainTEQ’s representations and

believed them to be true.

          62.    In reliance on these representations, Omnia Medical was induced to

agree to the Reduced Pricing and accept numerous separate Purchase Orders,

including, among others, those evidenced in Composite Exhibits 4 & 5.

          63.    Had Omnia Medical known the facts—that PainTEQ had not agreed

to the Reduced Pricing with any of its customers and that PainTEQ was charging

its customers well over the amount reflected in the submitted Purchase Orders—

it would not have agreed to the Reduced Pricing or agreed to accept each separate

Purchase Order.


                                          21
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 22 of 55 PageID 22




          64.    Omnia Medical’s reliance on PainTEQ’s representations was justified

because PainTEQ had superior knowledge of facts material to the subject

transactions due to the PainTEQ’s role as the sales agent of the PsiFTM System to

the subject surgical facilities and PainTEQ’s exclusive dealings with the surgical

facilities in its sales agent capacity.

          65.    As a direct and proximate result of PainTEQ’s fraud and deceit,

Omnia has sustained financial damages.

          66.    PainTEQ’s   actions      and/or   inactions   and   concealment   were

intentional, willful, wanton, malicious and performed with a reckless disregard

for Omnia Medical’s rights and, therefore, Omnia Medical reserves the right to

seek to amend this Complaint at the appropriate time to allege punitive damages

against PainTEQ pursuant to section 768.72, Fla. Stat.

          WHEREFORE, Omnia Medical requests the Court to:

          A.     Enter judgment in favor of Omnia Medical, finding that PainTEQ

made fraudulently induced Omnia Medical to accept each separate Purchase

Order;

          B.     Award Omnia Medical damages flowing from PainTEQ’s fraudulent

inducement;

          C.     Award Omnia Medical pre and post-judgment interest;

          D.     Enjoin PainTEQ and/or its members from distributing or dissipating


                                              22
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 23 of 55 PageID 23




the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ have been determined;

          E.      Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to PainTEQ’s fraudulent conduct;

and

          F.      For such further relief as the Court deems just and proper;

                                       COUNT IV
                 Fraud in the Inducement – Purchase Orders – Sean LaNeve

          67.     Omnia Medical incorporates and realleges paragraphs 1 through 34

as if fully rewritten here.

          68.     Mr. LaNeve repeatedly falsely and fraudulently represented to

Omnia Medical that PainTEQ had agreed to sell the PsiFTM System for the Reduced

Pricing of $4,000 per unit. These representations include, but are not limited to,

those evidenced in Composite Exhibits 4 & 5.

          69.      The above representations made by Mr. LaNeve were in fact false

each time they were made. PainTEQ never intended to charge the Reduced Pricing

and was actually charging the surgical facilities an amount well above the

Reduced Price they represented to Omnia Medical they were selling PSIFTM. See

FN 1 & 2.

          70.     On numerous occasions Mr. LaNeve submitted Purchase Orders

reflecting the Reduced Pricing despite the fact that he knew he had already

                                             23
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 24 of 55 PageID 24




charged or would charge the surgical facility a higher price than that reflected on

the submitted Purchase Order. These Purchase Orders include, but are not limited

to, those evidenced in Composite Exhibits 4 & 5

          71.    Mr. LaNeve made these representations knowing them to be false and

with the intent to defraud and deceive Omnia Medical and to induce Omnia

Medical to agree to the Reduced Pricing for each separate Purchase Order and

ultimately accept each separate Purchase Order including, but not limited to, those

evidenced in Composite Exhibits 4 & 5.

          72.    These representations were false at the time Mr. LaNeve represented

that PainTEQ was locked into the Reduced Pricing and at the time he submitted

each Purchase Order with Reduced Pricing.

          73.    Omnia   Medical,   each   time   Mr.   LaNeve   made   the   above

representations, and each time Omnia Medical accepted a Purchase Order with

the Reduced Pricing, had no knowledge as to the falsity of Mr. LaNeve’s

representations and believed them to be true.

          74.    In reliance on these representations, Omnia Medical was induced to

agree to the Reduced Pricing and accept numerous separate Purchase Orders,

including, among others, those evidenced in Composite Exhibits 4 & 5.

          75.    Had Omnia Medical known the facts—that PainTEQ had not agreed

to the Reduced Pricing with any of its customers and that PainTEQ was charging


                                           24
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 25 of 55 PageID 25




its customers well over the amount reflected in the submitted Purchase Orders—

it would not have agreed to the Reduced Pricing or agreed to accept each separate

Purchase Order.

          76.    Omnia Medical’s reliance on Mr. LaNeve’s representations was

justified because Mr. LaNeve had superior knowledge of facts material to the

subject transactions due to his role as the sales agent of the PsiFTM System to the

subject surgical facilities and his exclusive dealings with the surgical facilities in

his sales agent capacity.

          77.    As a direct and proximate result of Mr. LaNeve’s fraud and deceit,

Omnia Medical has sustained financial damages.

          78.    Mr. Laneve’s actions and/or inactions and concealment were

intentional, willful, wanton, malicious and performed with a reckless disregard

for Omnia Medical’s rights and, therefore, Omnia Medical reserves the right to

seek to amend this Complaint at the appropriate time to allege punitive damages

against Mr. LaNeve pursuant to section 768.72, Fla. Stat.

          WHEREFORE, Omnia Medical requests the Court to:

          A.     Enter judgment in favor of Omnia Medical, finding that Mr. LaNeve

fraudulently induced Omnia Medical into each Purchase Order;

          B.     Award Omnia Medical damages flowing from Mr. LaNeve’s

fraudulent inducement;


                                          25
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 26 of 55 PageID 26




          C.       Award Omnia Medical pre and post-judgment interest;

          D.       Enjoin PainTEQ and/or its members from distributing or dissipating

the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ and Mr. LaNeve have been determined;

          E.       Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to LaNeve’s fraudulent conduct;

and

          F.       For such further relief as the Court deems just and proper.

                                        COUNT V
                 Fraud in the Inducement – Purchase Orders– Charles Girsch

          79.      Omnia Medical incorporates and realleges paragraphs 1 through 34

as if fully rewritten here.

          80.      Mr. LaNeve repeatedly falsely and fraudulently represented to

Omnia Medical that PainTEQ had agreed to sell the PsiF System for the Reduced

Pricing of $4,000 per unit. These representations include, but are not limited to,

those evidenced in Composite Exhibits 4 & 5.

          81.       The above representations made by Mr. LaNeve were in fact false

each time they were made. PainTEQ never intended to charge the Reduced Pricing

and actually charged the surgical facilities an amount well above the Reduced

Pricing it represented to Omnia Medical it was charging on each Purchase Order

it submitted. See FN 1 & 2.

                                              26
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 27 of 55 PageID 27




          82.    At the time Mr. LaNeve made the above representations to Omnia

Medical, Mr. Girsch was aware but did not inform Omnia Medical that Mr.

LaNeve’s representations were false and made with the intent to defraud and

deceive Omnia Medical, and to induce Omnia Medical to agree to the Reduced

Pricing and ultimately accept each separate Purchase Order. Mr. Girsch was

copied on the July 2018 Emails and October 2018 Emails. See Composite Exhibits 4

& 5. In fact, Mr. Girsch participated in the October 2018 email conversation with

Omnia Medical regarding the Reduced Pricing. See Composite Exhibit 5, pg. 5.

          83.    The suppression of the fact that the Reduced Pricing was not actually

the agreed-upon price or requested by the subject surgical facilities was likely to

mislead Omnia Medical and did mislead Omnia Medical.

          84.    Mr. Girsch suppressed this information with the intent to induce

Omnia Medical to agree to the Reduced Pricing and accept each separate Purchase

Order.

          85.    Omnia Medical, at the time of Mr. Girsch’s failure to disclose and

suppressions of facts occurred, was unaware of the existence of the fact that Mr.

Girsch suppressed and failed to disclose.

          86.    Had Omnia Medical been aware that PainTEQ was not charging and

did not intend to charge the subject surgical facilities the Reduced Pricing for the

PsiFTM System, it would not have agreed to the Reduced Pricing or accepted each


                                            27
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 28 of 55 PageID 28




Purchase Order.

          87.    Additionally, on numerous occasions Mr. Girsch submitted Purchase

Orders reflecting the Reduced Pricing despite the fact that that he knew he had

already charged or would charge the surgical facility a higher price than that

reflected on the submitted Purchase Order. These Purchase Orders include, but

are not limited to, those evidenced in Composite Exhibit 5.

          88.    Mr. Girsch made these representations knowing them to be false, with

the intent to defraud and deceive Omnia Medical, and to induce Omnia Medical

to agree to the Reduced Pricing for each separate Purchase Order and ultimately

accept each separate Purchase Order including, but not limited to, the Purchase

Order evidenced in Composite Exhibit 5.

          89.    These representations were false at the time Mr. Girsch submitted

each Purchase Order with the Reduced Pricing. See FN 1 & 2.

          90.    Omnia    Medical,   each   time   Mr.   Girsch   made   the   above

representations, and each time Omnia Medical accepted a Purchase Order with

the Reduced Pricing, had no knowledge as to the falsity of Mr. Girsch’s

representations and believed them to be true.

          91.    In reliance on these representations, Omnia Medical was induced to

agree to the Reduced Pricing and accept numerous separate Purchase Orders,

including, among others, that evidenced in Composite Exhibits 5.


                                            28
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 29 of 55 PageID 29




          92.    Had Omnia Medical known the actual facts—that PainTEQ had not

agreed to the Reduced Pricing with any of its customers and that PainTEQ was

charging its customers well over the amount reflected in the submitted Purchase

Orders—it would not have agreed to the Reduced Pricing or agreed to accept each

separate Purchase Order.

          93.    Omnia Medical’s reliance on Mr. Girsch’s failure to disclose and his

representations was justified because at the time of Mr. Girsch’s failure to disclose,

suppression of facts, and each time he submitted a Purchase Order reflecting the

Reduced Pricing, Mr. Girsch had exclusive and superior knowledge of the facts

material to the subject transactions due to his role as a sales agent of the PsiFTM

System to the subject surgical facilities and his exclusive dealings with the surgical

facilities in his sales agent capacity.

          94.    As a direct and proximate result of Mr. Girsch’s fraudulent

suppression of material information regarding the Reduced Pricing, Omnia has

sustained financial damages.

          95.    As a direct and proximate result of Mr. Girsch’s fraudulent

submission of Purchase Orders reflecting the false Reduced Pricing for Omnia

Medical’s acceptance, Omnia has sustained financial damages.

          96.    As a direct and proximate result of Mr. Girsch’s fraud and deceit,

Omnia Medical has sustained damages.


                                           29
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 30 of 55 PageID 30




          97.    Mr. Girsch’s actions and/or inactions and concealment were

intentional, willful, wanton, malicious and performed with a reckless disregard

for Omnia Medical’s rights and, therefore, Omnia Medical reserves the right to

seek to amend this Complaint at the appropriate time to allege punitive damages

against Mr. Girsch pursuant to section 768.72, Fla. Stat.

          WHEREFORE, Omnia Medical requests this Court to:

          A.     Enter judgment in favor of Omnia Medical, finding that Mr. Girsch

made fraudulent misrepresentations to Omnia Medical;

          B.     Award Omnia Medical damages flowing from Mr. Girsch’s

fraudulent misrepresentations;

          C.     Award Omnia Medical pre and post-judgment interest;

          D.     Enjoin PainTEQ and/or its members from distributing or dissipating

the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ and Mr. Girsch have been determined;

          E.     Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to Mr. Girsch’s fraudulent

conduct; and

          F.     For such further relief as the Court deems just and proper.




                                            30
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 31 of 55 PageID 31




                                     COUNT VI
                            Infringement of the ‘D568 Patent

          98.    Omnia Medical incorporates and realleges paragraphs 1 through 34

as if fully rewritten here.

          99.    U.S. Design Patent No. D922,568 (the ‘D568 Patent) entitled “Surgical

Cannula” was duly and legally issued on June 15, 2021 and is owned by

Orthocision, Inc. A true and correct copy of the ‘D568 Patent is attached as Exhibit

6.

          100.   As the exclusive licensee of the ‘D568 Patent, Omnia Medical has the

right to, inter alia, use, manufacture, and sell products covered by the claim of the

‘D568 Patent and to enforce, litigate, initiate court proceedings, and/or settle all

past, present, and future claims arising from or related to the ‘D568 Patent.

          101.   The ‘D568 Patent covers the ornamental appearance of a surgical

cannula and includes unique design features. FIG. 1 of the ‘D568 Patent depicts a

perspective view of the claimed ornamental design.




                                            31
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 32 of 55 PageID 32




          102.   PainTEQ’s LinQTM Products include a surgical cannula that embodies

the design claimed in the ‘D568 Patent. A photograph of the infringing surgical

cannula is included below. A side-by-side comparison of the ‘D568 claimed design

and PainTEQ’s surgical cannula reveals that the PainTEQ surgical cannula is

substantially similar to the claimed design of the ‘D568 Patent.




                                          32
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 33 of 55 PageID 33




                    ‘D568 Patent                 PainTEQ Surgical Cannula




          103.   PainTEQ has been and continues to directly infringe the claim of the

‘D568 Patent by making, using, selling, and/or offering to sell its LinQ TM surgical

cannula.

          104.   PainTEQ has gained profits by virtue of its infringement of the ‘D568

Patent, and Omnia Medical has sustained damages as a direct and proximate

result of PainTEQ’s infringement of the ‘D568 Patent.

          105.   Omnia Medical will suffer and is suffering irreparable harm from

PainTEQ’s infringement of the ‘D568 Patent. Omnia Medical has no adequate

remedy at law and is entitled to an injunction against PainTEQ’s continuing

infringement of the ‘D568 Patent.

          106.   Unless enjoined, PainTEQ will continue to infringe the ‘D568 Patent.

          WHEREFORE, Omnia Medical requests:


                                            33
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 34 of 55 PageID 34




          A.     That the Court enjoin PainTEQ from infringing the ‘D568 Patent;

          B.     Enter judgment in favor of Omnia Medical, finding that PainTEQ has

infringed the ‘D568 Patent, in violation of 35 U.S.C. §§ 271(a) and (b);

          C.     Award    Omnia     Medical        damages   flowing   from    PainTEQ’s

infringement of the ‘D568 Patent, which includes:

                 1.    The actual loss caused by the infringement, including lost

profits;

                 2.    The unjust enrichment caused by the infringement that is not

taken into account in computing the actual loss; and

                 3.    A reasonably royalty;

          D.     Award Omnia Medical its reasonable attorneys’ fees and costs

pursuant to the Stocking Agreement;

          E.     Award Omnia Medical pre and post-judgment interest;

          F.     Enjoin PainTEQ and/or its members from distributing or dissipating

the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ have been determined;

          G.     Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to PainTEQ’s infringing conduct;

and

          H.     For such further relief as the Court deems just and proper.


                                              34
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 35 of 55 PageID 35




                                       COUNT VII
                              Infringement of the ‘511 Patent

          107.   Omnia Medical incorporates and realleges paragraphs 1 through 34

as if fully rewritten here.

          108.   Despite termination of the Stocking Agreement between PainTEQ

and Omnia Medical on or about February 19, 2019, PainTEQ continues to make,

use, sell, and offer to use confidential information and sell products and marketing

materials developed by Omnia Medical without Omnia Medical’s authorization

or consent.

          109.   U.S. Patent No. 11,083,511 (the ‘511 Patent) entitled “Method and

Implant System for Sacroiliac Joint Fixation and Fusion” was duly and legally

issued on August 10, 2021 and is owned by Orthocision, Inc. A true and correct

copy of the ‘511 Patent is attached as Exhibit 7.

          110.   As the exclusive licensee, Omnia Medical has the right to, inter alia,

use, manufacture, and sell products/methods covered by the claims of the ‘511

Patent and to enforce, litigate, initiate court proceedings, and/or settle all past,

present, and future claims arising from or related to the ‘511 Patent.

          111.   The claims of the ‘511 Patent are directed to, inter alia, methods for

repairing a SI joint of a patient. The method includes the insertion of a fusion

implant into a portion of the SI joint.

          112.   PainTEQ has infringed and continues to infringe the ‘511 Patent

                                            35
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 36 of 55 PageID 36




directly and/or indirectly by making, using, selling, offering to sell, and marketing

its LinQTM Products.

          113.   PainTEQ indirectly infringes the ‘511 Patent by selling, offering to sell,

and marketing its LinQTM Products to its customers with instructions for using the

products, knowing that following the instructions would infringe at least one

claim of the ‘511 Patent.

          114.   PainTEQ’s Surgical Technique Guide, as copy of which is attached as

Exhibit 8, provides step-by-step instructions for repairing a SI joint of a patient

that, when followed by one of PainTEQ’s customers, directly infringes at least one

claim of the ‘511 Patent.

          115.   PainTEQ knows that the method described in PainTEQ’s Surgical

Technique Guide infringes Omnia Medical’s intellectual property rights, including

Omnia Medical’s rights in the ‘511 Patent.

          116.   PainTEQ’s actions thus actively induce the infringement of the ‘511

Patent.

          117.   PainTEQ has been and continues to directly infringe at least one claim

of the ‘511 Patent by making, using, selling, and/or offering to sell its LinQTM

Products along with its accompanying instructions and services.

          118.   PainTEQ has been and continues to induce infringement of at least

one claim of the ‘511 Patent by actively and knowingly inducing others to make,


                                              36
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 37 of 55 PageID 37




use, sell, or offer for sale its LinQTM Products with the knowledge that such

making, using, selling, or offering to sell its LinQTM Products infringes the ‘511

Patent.

          119.   PainTEQ’s infringement of the ‘511 Patent has been willful and in

disregard for the ‘511 Patent, without any reasonable basis for believing that it had

a right to engage in the infringing conduct.

          120.   PainTEQ has gained profits by virtue of its infringement of the ‘511

Patent, and Omnia Medical has sustained damages as a direct and proximate

result of PainTEQ’s infringement of the ‘511 Patent.

          121.   Omnia Medical will suffer and is suffering irreparable harm from

PainTEQ’s infringement of the ‘511 Patent. Omnia Medical has no adequate

remedy at law and is entitled to an injunction against PainTEQ’s continuing

infringement of the ‘511 Patent.

          122.   Unless enjoined, PainTEQ will continue to infringe the ‘511 Patent.

          WHEREFORE, Omnia Medical requests:

          A.     That the Court enjoin PainTEQ from infringing the ‘511 Patent;

          B.     Enter judgment in favor of Omnia Medical, finding that PainTEQ has

infringed or actively induced infringement of the ‘511 Patent, in violation of 35

U.S.C. §§ 271(a) and (b);




                                            37
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 38 of 55 PageID 38




          C.     Award    Omnia     Medical        damages   flowing   from    PainTEQ’s

infringement of the ‘511 Patent, which includes:

                 1.    The actual loss caused by the infringement, including lost

profits;

                 2.    The unjust enrichment caused by the infringement that is not

taken into account in computing the actual loss; and

                 3.    A reasonably royalty;

          D.     Award Omnia Medical its reasonable attorneys’ fees and costs

pursuant to the Stocking Agreement;

          E.     Award Omnia Medical pre and post-judgment interest;

          F.     Enjoin PainTEQ and/or its members from distributing or dissipating

the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ have been determined;

          G.     Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to PainTEQ’s infringing conduct;

and

          H.     For such further relief as the Court deems just and proper.

                                     COUNT VIII
                        Breach of Contract – Stocking Agreement

          123.   Omnia Medical incorporates and realleges paragraphs 1 through 34

and 98 through 122 as if fully rewritten here.

                                              38
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 39 of 55 PageID 39




          124.   Omnia Medical and PainTEQ were parties to the Stocking

Agreement, which includes at Exhibit A, a schedule of commissions that PainTEQ

could earn based on the price it charged customers for PsiFTM products. See Exhibit

3 at Exhibit A.

          125.   The Stocking Agreement provided PainTEQ only with limited rights

to use literature and marketing information during the term that the Stocking

Agreement was in effect. The Stocking Agreement further provided that PainTEQ

had to return all such material to Omnia Medical.

          126.   Nothing in the Stocking Agreement granted PainTEQ an express or

implied right to continue using Omnia Medical’s literature and marketing

information for PainTEQ’s own purposes following termination of the Stocking

Agreement.

          127.   The Stocking Agreement further provided that PainTEQ would

maintain the confidentiality of any confidential or proprietary information that

Omnia Medical shared with PainTEQ, and maintain compliance with the

Physician Payments Sunshine Act reporting requirements under 42 CFR Parts 402

and 403 for reporting the existence and amount of surgeon investor financial

interests in PainTEQ.




                                          39
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 40 of 55 PageID 40




          128.   PainTEQ breached the terms of the Stocking Agreement by, among

other things,4 continuing to use confidential or proprietary information in a

manner inconsistent with the terms of the Stocking Agreement, as further

described in Counts VI and VII, above, with respect to the ‘D568 and ‘511 patents,

and not complying with requirements of Section 12 of the Stocking Agreement

concerning compliance with the Physician Payments Sunshine Act and related

regulations as described above.

          129.   As a direct and proximate result of PainTEQ’s breaches, Omnia

Medical has suffered damages and will continue to suffer damages in an amount

to be proven at trial.

          WHEREFORE, Omnia Medical requests:

          A.     Enter judgment in favor of Omnia Medical, finding that PainTEQ has

breached the Stocking Agreement;

          B.     Award Omnia Medical damages flowing from PainTEQ’s breach of

the Stocking Agreement;

          C.     Award Omnia Medical its reasonable attorneys’ fees and costs

pursuant to the Stocking Agreement;

          D.     Award Omnia Medical pre and post-judgment interest;




4Omnia Medical is currently pursuing PainTEQ’s other breaches of the Stocking Agreement in
Case No. 20-02805.

                                           40
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 41 of 55 PageID 41




          E.       Enjoin PainTEQ and/or its members from distributing or dissipating

the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ have been determined

          F.       Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to PainTEQ’s breach of the

stocking agreement; and

          G.       An Order requiring PainTEQ to file the appropriate regulatory

submissions to comply with the reporting requirements set forth in Section 12 of

the Stocking Agreement.

          H.       For such further relief as the Court deems just and proper.

                                        COUNT IX
                 Breach of Implied Covenant of Good Faith and Fair Dealing

          130.     Omnia Medical incorporates and realleges paragraphs 1 through 34

and 98 through 122 as if fully rewritten here.

          131.     Omnia Medical and PainTEQ are parties to the Stocking Agreement.

See Exhibit 3.

          132.     The Stocking Agreement is ambiguous about PainTEQ’s reporting to

Omnia Medical the pricing for which it sold Omnia Medical’s products.

          133.     PainTEQ, through conscious and deliberate acts, failed or refused to

accurately report the price for which it sold Omnia Medical’s products. These



                                              41
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 42 of 55 PageID 42




actions unfairly frustrated the Stocking Agreement’s purpose and disappointed

Omnia Medical’s expectations.

          134.   PainTEQ’s breach deprived Omnia Medical of the Stocking

Agreement’s benefits.

          135.   Omnia Medical suffered damages as a result of PainTEQ’s breach of

the implied covenant of good faith and fair dealing.

          WHEREFORE, Omnia Medical requests:

          A.     Enter judgment in favor of Omnia Medical, finding that PainTEQ has

breached the Stocking Agreement;

          B.     Award Omnia Medical damages flowing from PainTEQ’s breach of

the Stocking Agreement;

          C.     Award Omnia Medical its reasonable attorneys’ fees and costs

pursuant to the Stocking Agreement;

          D.     Award Omnia Medical pre and post-judgment interest;

          E.     Enjoin PainTEQ and/or its members from distributing or dissipating

the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ have been determined;

          F.     Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to PainTEQ’s breach of the

stocking agreement’s implied covenant of good faith and fair dealing; and


                                           42
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 43 of 55 PageID 43




          G.     For such further relief as the Court deems just and proper.

                                      COUNT X
                             Ohio Deceptive Trade Practices

          136.   Omnia Medical incorporates and realleges paragraphs 1 through 135

as if fully rewritten here.

          137.   Omnia Medical holds the exclusive rights to the intellectual property

described above, including the ‘D568 Patent, and the ‘511 Patent.

          138.   PainTEQ’s unauthorized use and/or infringements of the ‘D568

Patent and the ‘511 Patent has caused and is likely to continue to cause actual

confusion as to the source of the parties’ products, in violation of Ohio Rev. Code

§ 4165.02(A)(2).

          139.   PainTEQ’s unauthorized use and/or infringements of the ‘D568

Patent and the ‘511 Patent creates the misperception that the parties are affiliated,

in violation of Ohio Rev. Code § 4165.02(A)(3).

          140.   In   addition,    PainTEQ,        through   its   officers,   employees,

representatives, and/or authorized agents, has willfully and knowingly published

and disseminated false representations of fact that disparage the goods, services,

and business of Omnia Medical.

          141.   PainTEQ’s false representations of fact include, but are not limited to,

statements that PainTEQ is not infringing, and has not infringed, the intellectual

property rights of Omnia Medical, when, in truth and in fact, PainTEQ has done

                                              43
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 44 of 55 PageID 44




exactly that.

          142.   PainTEQ’s false representations of fact that disparage the goods,

services, and business of Omnia Medical are in violation of Ohio Revised Code

§ 4165.02(A)(10).

          143.   Additionally, PainTEQ has engaged in an unfair method of

competition and/or an unfair and deceptive act or practice by failing to comply

with the disclosure requirements of the Physician Payments Sunshine Act and

implementing regulations.

          144.   PainTEQ’s failure to comply with the disclosure requirements of the

Physician Payments Sunshine Act and implementing regulations causes likehood

of confusion or misunderstanding as to the “source, sponshorship, approval or

certification of goods or services” as well as the “likelihood of confusion or

misunderstanding as to affiliation, connection, or association with, or certification by,

another” in violation of Ohio Revised Code §§ 4165.02(A)(2) and (A)(3).

          145.   As a direct and proximate result of PainTEQ’s actions, Omnia Medical

has suffered damages and will continue to suffer damages in an amount to be

proven at trial.

          146.   Additionally, by virtue of PainTEQ having willfully and knowingly

engaged in deceptive trade practices in violation of Ohio Revised Code § 4165.02,

Omnia Medical is entitled to an award of attorney fees pursuant to Ohio Revised


                                           44
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 45 of 55 PageID 45




Code § 4165.03.

          WHEREFORE, Omnia Medical requests:

          A.     That the Court enjoin PainTEQ from engaging in any deceptive trade

practices relating to Omnia Medical;

          B.     Enter judgment in favor of Omnia Medical, finding that PainTEQ has

engaged in deceptive business practices relating to Omnia Medical, in violation of

Ohio law;

          C.     Award Omnia Medical damages flowing from PainTEQ’s deceptive

trade practices;

          D.     Award Omnia Medical its reasonable attorneys’ fees and costs

pursuant to Ohio Revised Code § 4165.03;

          E.     Award Omnia Medical pre and post-judgment interest;

          F.     Enjoin PainTEQ and/or its members from distributing or dissipating

the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ have been determined;

          G.     Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to PainTEQ’s unfair and deceptive

practices;

          H.     An Order requiring PainTEQ to file the appropriate regulatory

submissions to comply with the reporting requirements set forth in the Physician


                                           45
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 46 of 55 PageID 46




Payments Sunshine Act; and

          I.     For such further relief as the Court deems just and proper.

                                      COUNT XI
                         Florida Deceptive and Unfair Trade Practices

          147.   Omnia Medical incorporates and realleges paragraphs 1 through 135

as if fully rewritten here.

          148.   To the extent that Florida law also applies in this dispute (or Florida

law applies in lieu of Ohio law), then Omnia Medical pleads this cause of action

on an alternative basis pursuant to Fed. R. Civ. P. 8(d)(2).

          149.   PainTEQ’s conduct as described above constitutes unfair methods of

competition, unconscionable acts or practices, and/or unfair or deceptive acts or

practice in the conduct of trade or commerce, in violation of section 501.204(1),

Florida Statutes.

          150.   Under Florida law, “[a]n unfair practice is one that offends

established public policy and on that is immoral, unethical, oppressive,

unscrupulous or substantially injurious to consumers.” PNR, Inc. v. Beacon Property

Management, Inc., 842 So. 2d 773, 777 (Fla. 2003) (internal quotations omitted).

          151.   Under Florida law, “deception occurs if there is a representation,

omission, or practice that is likely to mislead the consumer acting reasonably in

the circumstances, to the consumer’s detriment.” Id.



                                            46
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 47 of 55 PageID 47




          152.   PainTEQ, by its sales of products and other activities that infringe on

the ‘D568 Patent and the ‘511 Patent, has caused harm to consumers and/or other

actual and/or potential end-users of Omnia Medical’s products by causing them

to believe that they were using and/or purchasing a product manufactured

and/or distributed by Omnia Medical when, in truth and in fact, they were not.

Such conduct creates a likelihood of consumer injury or detriment.

          153.   Additionally, PainTEQ has engaged in an unfair method of

competition and/or an unfair and deceptive act or practice by failing to comply

with the disclosure requirements of the Physician Payments Sunshine Act and

implementing regulations.

          154.   As a direct and proximate result of PainTEQ’s deceptive acts and

unfair practices, Omnia Medical has suffered damages and will continue to suffer

damages in an amount to be proven at trial.

          WHEREFORE, Omnia Medical requests:

          A.     That the Court enjoin PainTEQ from engaging in any deceptive trade

practices relating to Omnia Medical;

          B.     Enter judgment in favor of Omnia Medical, finding that PainTEQ has

engaged in deceptive and unfair trade practices relating to Omnia Medical, in

violation of Florida law;

          C.     Award Omnia Medical damages flowing from PainTEQ’s deceptive


                                            47
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 48 of 55 PageID 48




trade practices;

          D.     Award Omnia Medical its reasonable attorneys’ fees and costs

pursuant to section 501.2105, Florida Statutes;

          E.     Award Omnia Medical pre and post-judgment interest;

          F.     Enjoin PainTEQ and/or its members from distributing or dissipating

the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ have been determined;

          G.     Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to PainTEQ’s unfair and deceptive

practices;

          H.     An Order requiring PainTEQ to file the appropriate regulatory

submissions to comply with the reporting requirements set forth in the Physician

Payments Sunshine Act; and

          I.     or such further relief as the Court deems just and proper.

                                   COUNT XII
                           Common Law Unfair Competition

          155.   Omnia Medical incorporates and realleges paragraphs 1 through 135

as if fully rewritten here.

          156.   PainTEQ unfairly competes with Omnia Medical through its

unauthorized use and/or infringements of the ‘D568 Patent and the ‘511 Patent.



                                            48
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 49 of 55 PageID 49




          157.   PainTEQ further unfairly competes with Omnia Medical through its

failure to comply with disclosure requirements of the Physician Payments

Sunshine Act.

          158.   PainTEQ’s actions have damaged Omnia Medical in the form of, inter

alia, lost sales, harm to reputation, and trademark/copyright infringement.

          159.   As a direct and proximate result of PainTEQ’s actions, Omnia Medical

has suffered damages and will continue to suffer damages in an amount to be

proven at trial.

          WHEREFORE, Omnia Medical requests:

          A.     That the Court enjoin PainTEQ from engaging in any form of unfair

competition relating to Omnia Medical;

          B.     Enter judgment in favor of Omnia Medical, finding that PainTEQ has

engaged in unfair competition relating to Omnia Medical;

          C.     Award Omnia Medical damages flowing from PainTEQ’s acts

constituting unfair competition;

          D.     Award Omnia Medical pre and post-judgment interest;

          E.     Enjoin PainTEQ and/or its members from distributing or dissipating

the proceeds of the sale until the merits of Omnia Medical’s claims against

PainTEQ have been determined;

          F.     Impose a constructive trust on the specific and identifiable income


                                           49
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 50 of 55 PageID 50




from the sale of PainTEQ and/or LinQTM traced to PainTEQ’s unfair practices; and

          G.     An Order requiring PainTEQ to file the appropriate regulatory

submissions to comply with the reporting requirements set forth in the Physician

Payments Sunshine Act.

          H.     For such further relief as the Court deems just and proper.

                                    COUNT XIII
                                UNJUST ENRICHMENT

          160.   This is an action in the alternative for unjust enrichment.

          161.   Omnia Medical incorporates and realleges paragraphs 2 through 14,

22-23, 28, 31, and 33-34 as if fully rewritten here.

          162.   PainTEQ knew that Omnia Medical provided products to PainTEQ at

a lower price than PainTEQ was selling Omnia Medical’s products to its

customers.

          163.   PainTEQ knew that it was gaining assets by obtaining access to and

infringing on Omnia Medical’s intellectual property.

          164.   Despite this knowledge, PainTEQ has failed to pay Omnia Medical in

full for the value of the products it sold on Omnia Medical’s behalf or to

compensate Omnia Medical for the value of the intellectual property and assets

PainTEQ has gained through its infringement.

          165.   Omnia Medical has conferred a benefit on PainTEQ by providing it

products at the Reduced Price, only for PainTEQ to sell the same products to its

                                             50
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 51 of 55 PageID 51




customers at a higher price without paying the fill value thereof to Omnia Medical.

          166.   Omnia Medical has conferred a benefit on PainTEQ by providing it

access to its confidential intellectual property, which PainTEQ used to its benefit

without providing compensation to Omnia Medical for such intellectual property.

          167.   PainTEQ has knowledge of the benefit and has accepted and retained

the benefit conferred by Omnia Medical, thereby making it inequitable for

PainTEQ to retain same without paying the value thereof.

          168.   Omnia Medical is entitled to the reasonable value of the products it

provided to PainTEQ and the reasonable value of the intellectual property

PainTEQ stole and utilized for its own LinQ System.

          WHEREFORE, Omnia Medical requests:

          A.     That the Court enter a judgment in favor of Omnia Medical, finding

that PainTEQ has been unjustly enriched;

          B.     That the Court enter a judgment against PainTEQ requiring it to

disgorge all profits it received from selling Omnia Medical products that were

fraudulently received or that it inequitably retained from Omnia Medical

regardless of the form in which those profits are being held by PainTEQ, and on

all proceeds of such profits, and on all assets of Omnia Medical in PainTEQ’s

possession, custody, or control, including those assets PainTEQ holds due to its

infringement of Omnia Medical’s intellectual property, and requiring that


                                           51
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 52 of 55 PageID 52




PainTEQ return such profits and assets to Omnia Medical;

          C.          Award Omnia Medical damages flowing from PainTEQ’s unjust

enrichment;

          D.          Impose a constructive trust on the specific and identifiable income

from the sale of PainTEQ and/or LinQTM traced to PainTEQ’s unfair practices; and

and

                 D.     For such further relief as the Court deems just and proper

                                           COUNT XIV
                                         Constructive Trust

          169.        This is an action in the alternative for constructive trust.

          170.        Omnia Medical incorporates and realleges paragraphs 1 through 168

as if fully rewritten here.

          171.        PainTEQ and Omnia Medical had a unique relationship through

which PainTEQ expressly promised that it would maintain a business relationship

with Omnia Medical and sell Omnia Medical’s products in a manner that would

benefit Omnia Medical.

          172.        Omnia Medical entered into the Stocking Agreement and accepted

each Purchase Order in reliance thereon.

          173.        A sale or acquisition of PainTEQ to a successor company may leave

PainTEQ judgment proof, allowing them to avoid any potential judgment found

against it in this action.

                                                   52
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 53 of 55 PageID 53




          174.   PainTEQ would be unjustly enriched if it were allowed to keep the

profits and assets it obtained through its fraudulent and inequitable conduct.

          175.   PainTEQ would further be unjustly enriched if allowed to sell its

company at a value that includes the profits it has unjustly withheld and

fraudulently kept from Omnia Medical.

          176.   The Court has the equitable authority to impose a constructive trust

where property belonging to a person or entity is unjustly held by another person

as a result of abuse of confidence, unjust enrichment, and other circumstances

rendering inequitable and unfair the continuing possession and control of that

property by the other person or entity.

          177.   In addition, PainTEQ is improperly in possession of confidential

documents and other intellectual property of Omnia Medical.

          WHEREFORE, Omnia Medical requests:

          A.     That the Court enter a Judgment imposing a constructive trust on all

profits PainTEQ received from selling Omnia Medical products that were

fraudulently received or that it inequitably retained from Omnia Medical,

regardless of the form in which those profits are being held by PainTEQ, and on

all proceeds of such profits, and on all assets of Omnia Medical in PainTEQ’s

possession, custody, or control, including those assets PainTEQ holds due to its

infringement of Omnia Medical’s intellectual property;


                                           53
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 54 of 55 PageID 54




          B.     That the Court enter a Judgment declaring that until the closing of this

action, PainTEQ hold such profits and assets in constructive trust for satisfaction

of a Judgment in this action; and

          C.     For such further relief as the Court deems just and proper

                                     JURY DEMAND

          Pursuant to Rule 38, Federal Rules of Civil Procedure, Omnia Medical, LLC

demands a trial by jury of this action consisting of the maximum number of jurors

permitted by law.

          Dated: January 18, 2022

                                                  Respectfully submitted,

                                                  /s/Matthew G. Davis
                                                  Matthew G. Davis
                                                  Florida Bar No. 58464
                                                  mdavis@pdtlegal.com
                                                  A. Alston Merritt, Esq.
                                                  Florida Bar No. 1010102
                                                  amerritt@pdtlegal.com
                                                  PASKERT DIVERS THOMPSON
                                                  100 North Tampa Street, Suite 3700
                                                  Tampa, FL 33602
                                                  813.229.3500 (telephone)
                                                  813.229.3502 (facsimile)

                                                  Ralph E. Cascarilla
                                                  Florida Bar No. 315303 *
                                                  rcascarilla@walterhav.com
                                                  WALTER | HAVERFIELD LLP
                                                  1301 E. Ninth Street, Suite 3500
                                                  Cleveland, OH 44114
                                                  216.928.2908 (direct dial)

                                             54
{03857864 - 1}
Case 8:22-cv-00145-VMC-TGW Document 1 Filed 01/18/22 Page 55 of 55 PageID 55




                                         216.916.2346 (direct facsimile)
                                         *admitted in this case pro hac vice
                                         Counsel for Omnia Medical, LLC




                                    55
{03857864 - 1}
